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                          IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
    In re:
    FIRST GUARANTY MORTGAGE
    CORPORATION, et al.,1                                  Case No. 22-10584 (CTG)

                       Debtors.                            (Joint Administration Requested)



           DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING THE DEBTORS TO ENTER INTO REPURCHASE
          AGREEMENT FACILITIES; (II) AUTHORIZING THE DEBTORS TO SELL
         AND REPURCHASE MORTGAGE LOANS IN THE ORDINARY COURSE OF
          BUSINESS; (III) GRANTING LIENS AND PROVIDING SUPER-PRIORITY
                ADMINISTRATIVE EXPENSE STATUS; (IV) MODIFYING THE
             AUTOMATIC STAY; (V) SCHEDULING A FINAL HEARING WITH
                              RESPECT TO THE RELIEF
              REQUESTED HEREIN; AND (VI) GRANTING RELATED RELIEF

         First Guaranty Mortgage Corporation, (“FGMC”), and the above-referenced affiliated

debtors and debtors in possession (the “Debtors”)2 under chapter 11 of title 11 of the United States

Code, §§ 101 et seq. (the “Bankruptcy Code”), in these chapter 11 cases (the “Chapter 11 Cases”),

by and through the undersigned counsel of record, hereby move (the “Cash Flow DIP Motion”),

pursuant to §§ 105(a), 361, 362, 363, 364, 503, 507, 546, 548, 555, 556, 559, 560, and 561,

Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local Rules 2002-1, 4001-1, 4001-2 and 9013-

1, for entry of an interim order (substantially in the form attached hereto as Exhibit A, the “Interim

DIP Repo Order”) and a final order (the “Final DIP Repo Order”, and together with the Interim

Order, the “DIP Repo Orders”) (i) authorizing the Debtors to obtain debtor-in-possession


1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number are:
First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location of the corporate
headquarters and the service address for First Guaranty Mortgage Corporation is 5800 Tennyson Parkway, Suite 450,
Plano, TX 75024.
2
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the DIP Repo
Documents (defined herein).


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warehouse financing on the terms set forth herein (the “DIP Repo Facility”), (ii) authorizing the

Debtors to sell and repurchase certain mortgage loans and related assets in the ordinary course of

business and perform all such other and further acts as may be required in connection with the DIP

Repo Documents (defined below), (iii) granting liens and providing super-priority administrative

expense status, (iv) modifying the automatic stay, (v) scheduling a final hearing with respect to

the relief requested herein (the “Final Hearing”); and (vi) granting related relief.

        In further support of this Motion, the Debtors submit and rely on the Declaration of Aaron

Samples, Chief Executive Officer of First Guaranty Mortgage Corporation In Support of Chapter

11 Petitions and First Day Pleadings (the “Samples Declaration” or the “First Day Declaration”),

and (ii) the Declaration of Tanya Meerovich in Support of Debtors’ Motions for Debtor-in-

Possession Financing (the “Meerovich Declaration”), each of which has been filed

contemporaneously herewith and is incorporated by reference herein.

        In further support of this Motion, the Debtors, by and through their proposed undersigned

counsel, respectfully represent:

                                   PRELIMINARY STATEMENT

        By this Motion the Debtors request authority to enter into the DIP Repo Facility, which

will enable the Debtors to support its customers (residential home loan borrowers) in the purchase

or refinance of their homes. The relief sought here is necessary in order to ensure that borrowers

are not left at closing tables without the funds necessary to close on their loans.

        The residential mortgage market as a whole has faced serious macroeconomic challenges

over the past few months, including increased concerns about the availability and cost of credit,

the end of the refinance boom, the systemic impact of inflation and geopolitical issues, and the

reduced demand for purchase money mortgages.


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        Further, the residential mortgage market remains one of the most highly regulated markets

in the United States. The creation of the federal Consumer Financial Protection Bureau under the

Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010 and the additional

authorities and responsibilities granted to it to administer and enforce various federal consumer

protection statutes, including new requirements related to determining a borrower’s ability to repay

the loan and new servicing rules, as well as the increasing sophistication and coordination of

various state banking and financial institution regulators, has led to unprecedented oversight and

scrutiny of the residential mortgage industry. This additional oversight has led to significant

increases the legal, regulatory and operational risks of operating a mortgage origination company.

        The above market conditions, taken together with various other factors as more fully

described in the First Day Declaration, resulted in a liquidity crisis for the Debtors, thereby

precipitating the filing of these Chapter 11 Cases. Nevertheless, the Debtors have extended

commitments to customers whereby the Debtors have agreed to provide financing for newly

originated residential mortgage loans and the Debtors customers are relying on that funding to be

available at closing. The Debtors anticipate funding several million dollars in loans that are

scheduled to close within the next few days. Accordingly, the relief sought in this Motion is critical

for the Debtors and their borrowers.

        In the ordinary course of business, the Debtors use warehouse facilities to fund mortgage

loan originations and purchases. A warehouse facility is structured as a “safe harbor” repurchase

agreement under which a seller sell a mortgage loan to a buyer, with the buyer agreeing to sell the

mortgage loan back to the seller on a certain date in the future. This arrangement, which is typical

in the mortgage industry, is how FGMC actually funds the mortgage loans it originates on behalf

of underlying borrowers. FGMC buys the mortgage loans back when it is prepared to permanently


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sell it to one or more loan buyers. Without the benefit of the relief sought in this Motion, FGMC

will not be able to provide the funding necessary for its borrowers to close the purchase of their

homes.

         When FGMC agrees to provide a mortgage loan to a borrower, it issues an interest rate

lock commitment to the borrower. To protect against potential interest rate exposure on the

mortgage loan before it is permanently sold, the Debtors enter into an interest rate hedge

agreement. They do so pursuant to a standard form of agreement referred to as a Mortgage Security

Forward Transfer Agreement (“MSFTA”).

         By this Motion, the Debtors request, among other things, authority to enter into the DIP

Repo Facility pursuant to (i) a Master Repurchase Agreement, a copy of which is attached hereto

as Exhibit B (the “DIP Repo Facility Agreement”) among FGMC, as seller, Barclays Bank PLC,

as administrative agent (in such capacity, the “DIP Repo Agent”) and buyer, and the other buyers

from time to time party thereto (collectively with the DIP Repo Agent acting on behalf of such

buyers, the “DIP Repo Facility Purchasers”), and the related Pricing Side Letter (a copy of which

is being filed under seal) and (ii) all other documents related thereto, including the “Program

Documents” (as defined in the DIP Repo Facility Agreement) (collectively with the DIP Repo

Facility Agreement, and the Pricing Side Letter, the “DIP Repo Facility Documents”), which

provide for a maximum committed amount of up to $125,000,000.

         The Debtors also request authority to enter into and perform, as necessary, under certain

MSFTAs (the “DIP MSFTAs”) between FGMC and the counterparties thereto (the “DIP MSFTA

Counterparties”), pursuant to which, from time to time, FGMC and the DIP MSFTA

Counterparties will enter into forward transactions for the purchase or sale of mortgage-backed

and other asset-backed securities and such other securities as the parties thereto may determine.


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        Lastly, the Debtors request authority to enter into certain netting agreements related to the

foregoing (the “DIP Netting Agreement” and together with the DIP Repo Facility Agreement, DIP

MSFTAs and all other related documentation, the “DIP Repo Documents”). Pursuant to the DIP

Netting Agreement, FGMC shall grant to the DIP Repo Agent netting and setoff rights with respect

to obligations of FGMC arising under the DIP Repo Facility Agreement, the DIP MSFTAs, and

any other DIP Repo Documents.

        The Debtors, with the assistance of their financial advisor, FTI Consulting, conducted a

comprehensive marketing process designed to obtain the most favorable terms for their debtor-in-

possession warehouse financing needs. The Debtors negotiated the DIP Repo Facility with the

DIP Repo Parties3 in good faith and at arm’s length, and believe that the terms of the DIP Repo

Facility are competitive and the best that could be obtained under the circumstances. Further, the

DIP Repo Facility has been market tested and represents the best offer available to the Debtors.

        The DIP Repo Facility contemplates that the financing available thereunder will not be

available for general working capital and operational expenses. The Debtors have arranged for

financing to recover such expenses through a separate debtor-in-possession financing motion (the

“Cash Flow DIP Motion” and the facility, the “Cash Flow DIP Facility”). However, the Debtors

contemplate that a portion of the DIP Repo Facility proceeds will be used to refinance a portion of

the Prepetition Bridge Loans funded by the Prepetition Bridge Lender (each as defined below).

        For these reasons, and as more fully set forth below, the Debtors request that the Court

grant the relief requested herein.




3
 For purposes herein, the “DIP Repo Parties” means (a) the DIP Repo Facility Parties, (b) the DIP MSFTA
Counterparties, and (c) the DIP Netting Parties, in each case, in their respective capacities as such.
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                                 JURISDICTION AND VENUE

        1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory bases for the relief requested herein are sections 105(a), 361, 362,

363, 364, 503, 507, 546, 548, 555, 556, 559, 560, and 561, of chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”), 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),

Bankruptcy Rules 2002, 4001, 6004, and 9014, and 9013-1, and Local Rules 2002-1, 4001-1,

4001-2 and 9013-1.

                                     RELIEF REQUESTED

        4.      By this Motion, the Debtors request: (i) entry of the Interim DIP Repo Order, and

(ii) following the Final Hearing, entry of the Final DIP Repo Order. For the reasons set forth

herein, and in reliance on the evidence set forth in the First Day Declaration and the Meerovich

Declaration, the relief sought herein should be authorized and the Cash Flow DIP Motion granted.




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                                         BACKGROUND

        5.      On the date hereof (the “Petition Date”), the Debtors each commenced voluntary

cases for relief under chapter 11 of the Bankruptcy Code. The Debtors have requested that their

cases be jointly administered.

        6.      The Debtors are authorized to continue operating their businesses and managing

their properties as debtors in possession pursuant to sections 1107(a) and1108 of the Bankruptcy

Code.

        7.      No creditors’ committee has been appointed in the Chapter 11 Cases by the Office

of the United States Trustee (the “United States Trustee”). No trustee or examiner has been

appointed in the Chapter 11 Cases No trustee, examiner, or statutory committee has been appointed

in the Chapter 11 Cases.

        8.      FGMC originates, purchases, services, sells and/or securitizes residential real estate

mortgage loans. Specifically, FGMC’s mortgage services include: (i) retail, including direct to

consumer, distributed, and hybrid structures; (ii) wholesale, focused on non-qualified mortgage

and non-agency production; and (iii) correspondent, focused on non-delegated non-qualified

mortgage and non-agency production. Its 2021 funding’s comprised 36,044 units totaling $10.25

billion in unpaid principal balance.

        9.      FGMC is a Virginia corporation and its affiliated debtor Maverick II Holdings, LLC

is a Delaware LLC. Founded in 1987, headquartered in Plano, Texas, and licensed in 49 states

plus the District of Columbia, FGMC is a full service, non-bank mortgage lender.

        10.     FGMC is a National Ginnie Mae, Fannie Mae direct lender and Freddie Mac Seller

and Servicer, with licenses and/or approvals from the Federal Housing Authority, Veterans Affairs,

Ginnie Mae, and the United States Department of Agriculture. As of December 2021, FGMC

employed 725 full-time employees, 37% of which were sales related.
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        11.      FGMC maintains centralized call centers in Plano, Texas, as well as regional offices

in Maryland, Missouri, Nevada, New Jersey, and North Carolina.

        12.      Prior to the Petition Date, the Debtors received bridge financing (the “Prepetition

Bridge Loans”) and financed the origination of mortgage loans with loan proceeds advanced by

B2 FIE XI LLC4 (in such capacity, the “Prepetition Bridge Lender”) pursuant to the terms of that

certain Second Amended and Restated Secured Promissory Note, dated June 29, 2022 (the

“Prepetition Bridge Loan Agreement”, and the mortgage loans financed thereunder, the “Bridge

Financed Loans”). As of the Petition Date, the total outstanding amount due under the Prepetition

Bridge Loan Agreement is $18,350,771 (the “Prepetition Bridge Loan Agreement Amount”),

$7,260,148 of which was used to finance the Bridge Financed Loans.

        13.      Additional factual background of the Debtors, including with regard to their

organizational structure, is set forth in the First Day Declaration.

        A.       Summary of Terms of DIP Repo Facility5

        14.      In accordance with Bankruptcy Rules 4001(b)–(d) and Local Rule 4001-2(a), the

below chart summarizes the significant terms of the Orders and DIP Repo Documents.

               SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY

                           First Guaranty Mortgage Corporation                                 Master
Borrower
                                                                                               Repurchase
Bankruptcy Rule
                                                                                               Agreement at
4001(c)(1)(B)
                                                                                               p. 1


4
  B2 FIE XI LLC is the proposed lender under the Debtors’ Motion for Entry of Interim and Final Orders (I)
Authorizing the Debtors to Obtain Postpetition Operational Cash Flow Financing; (II) Authorizing the Debtors to
Use Cash Collateral; (III) Granting Liens and Providing Super-Priority Administrative Expense Status; (IV) Granting
Adequate Protection; (V) Modifying the Automatic Stay; (VI) Scheduling an Interim Hearing to Approve the Proposed
Interim Order and a Final Hearing with Respect to the Relief Requested Herein; and (VII) Granting Related Relief
(the “Cash Flow DIP Motion”) filed contemporaneously herewith.
5
  This summary is qualified in its entirety by reference to the applicable provisions of the DIP Repo Note. To the
extent there exists any inconsistency between this summary and the provisions of the DIP Repo Note or the Orders,
the provisions of the DIP Repo Note or the Orders, as applicable, shall control.

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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY

                         Maverick II Holdings, LLC                                   Master
Guarantors
                         Pimco Bravo Fund II, L.P.                                   Repurchase
Bankruptcy Rule
                                                                                     Agreement at
4001(c)(1)(B)
                                                                                     p. 11

                         Barclays Bank PLC [or an affiliate thereof]                 Master
DIP Repo Parties
                                                                                     Repurchase
Bankruptcy Rule
                                                                                     Agreement at
4001(c)(1)(B)
                                                                                     p. 27

DIP Repo Facility $125,000,000
Bankruptcy Rule                                                                      Pricing Side
4001(c)(1)(B); Local                                                                 Letter
Rule 4001-2(i)(B

Borrowing Limits     Non-qualified mortgage and Jumbo sublimit of
Bankruptcy Rule      $25,000,000
                                                                                     Pricing Side
4001(c)(1)(B); Local
                                                                                     Letter
Rule 4001-2(i)(A),
(a)(iii)

                         Agency: 1-month SOFR + 3.000%
Interest Rate            •Agency interest rate shall be reduced to 1-month SOFR
                         + 2.850%upon the advance rate being 90%                Pricing Side
Bankruptcy Rule
                                                                                Letter
4001(c)(1)(B)            Non-qualified mortgage: 1-month SOFR + 3.000%
                         Jumbo: 1-month SOFR + 3.000%

Expenses and Fees (i)           Up Front Fee: 50 bps on total facility size, to be
Bankruptcy Rule                 paid upon entry of the Interim DIP Repo Order;
                                and                                                Pricing Side
4001(c)(1)(B); Local
                                                                                   Letter
Rule 4001-2(a)(i)(B), (ii)      Unused Line Fee: 50 bps on unused committed
(M)                             amounts.

Maturity Date           the earlier of (i) emergence from Chapter 11 and (ii) 150
Bankruptcy Rule         days from the closing date.                               Master
4001(c)(1)(B), Local                                                              Repurchase
Rule 4001-2(a)(ii);                                                               Agreement at
Local Rule 4001-                                                                  p. 13
2(a)(i)(B), (M), (a)(ii

Collateral and           The DIP Repo Agent shall take:
                                                                                        Master
Priority                 first priority liens and security interests in (i) pursuant to Repurchase
Bankruptcy Rule          Section 364(c)(2) of the Bankruptcy Code, the Purchased
                                                   9
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                SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
4001(c)(1)(B)(i),           Assets (as defined in the DIP Repo Facility Agreement) Agreement at
4001(c)(1)(B)(ii)           (collectively, the “DIP Repo Facility Backup p. 32
                            Collateral”); and
                            (ii) on behalf of itself and the other DIP Repo Parties, the
                            DIP Netting Parties, and any agents or custodians under
                            the DIP Repo Documents, and the DIP MSFTA
                            Counterparties, super-priority administrative claim
                            pursuant to sections 507(b), 364(c)(2), 364(c)(3) and
                            364(e) of the Bankruptcy Code.
                            The DIP MSFTA Counterparties shall take:
                            first-priority liens and security interests, pursuant to
                            section 364(c)(2) of the Bankruptcy Code, to secure
                            FGMC’s obligations under the DIP MSFTAs in, and
                            right of setoff against, all Forward Collateral (as defined
                            in the DIP MSFTAs) and all securities, money and other
                            property, then or thereafter delivered by or on behalf of
                            FGMC under such DIP MSFTA to or for the benefit of
                            the DIP MSFTA Counterparties in connection with such
                            DIP MSFTA or any Transaction (as defined in the DIP
                            MSFTAs), or then or thereafter held or carried by or on
                            behalf of FGMC in connection with the DIP MSFTA or
                            any Transaction (as defined in the DIP MSFTAs) and, in
                            each case, all proceeds of any of the foregoing
                            (collectively, the “DIP MSFTA Collateral”)
                            The DIP Agent shall also take, pursuant to the DIP
                            Netting Agreement, first-priority liens and security
                            interests, pursuant to section 364(c)(2) of the Bankruptcy
                            Code, for the benefit of itself and the other DIP Netting
                            Parties, in each case, to secure FGMC’s obligations
                            under the DIP Netting Agreement, as applicable, in: 6
                            (i)      each Deposit Account, Securities Account or
                                     other trust or custodial account maintained or
                                     required to be maintained under or in connection
                                     with any DIP Repo Document;
                            (ii)     all property (including Security Entitlements)
                                     now or hereafter credited to or held in any such
                                     account or otherwise held, or carried by or
                                     through, or subject to the control of any DIP
                                     Netting Party or agent thereof in connection with

6
 Capitalized terms used but not defined in items (i) – (v) of this subsection shall have the meanings set forth in the
DIP Netting Agreement.

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                  SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
                                       a DIP Repo Document whether fully paid or
                                       otherwise;
                              (iii)    all rights under the DIP Repo Documents,
                                       including, without limitation, all rights of FGMC
                                       in any obligations of any DIP Netting and all
                                       rights of FGMC in or to any transaction
                                       (including Clearing Transactions), confirmations
                                       and agreements under the DIP Repo Documents;
                              (iv)     all Accounts, Chattel Paper, Commodity
                                       Accounts, Commodity Contracts, Documents,
                                       General Intangibles, Instruments, Investment
                                       Property, Letter-of-Credit Rights and Securities
                                       held under or constituting collateral or security
                                       under or pursuant to any DIP Repo Documents;
                                       and
                              All proceeds of the foregoing ((i) – (iv) collectively, the
                              “DIP Netting Collateral,” and, together with the DIP
                              Repo Facility Backup Collateral, and the DIP MSFTA
                              Collateral, the “DIP Repo Collateral”).

                              (i)      Minimum liquidity of FGMC on the DIP Closing
                                       Date (as defined in the Interim DIP Repo Order)
                                       of $20 million, which amount shall be calculated
                                       based on unrestricted cash on deposit in an
                                       unencumbered account (the “Unrestricted
                                       Account”) and amounts immediately available
                                       for borrowing under the Cash Flow DIP without
                                       restriction or subject to the discretion of the Cash
Covenants
                                       Flow DIP Lender (as defined in the Cash Flow Master
Bankruptcy Rule
                                       DIP Orders) and (ii) have minimum liquidity of Repurchase
4001(c)(1)(B); Local
                                       not less than $[__] at any point thereafter7, which Agreement at
Rule 4001-
                                       shall be calculated based on unrestricted Cash on p. 42
2(a)(i)(H), (M)
                                       deposit in the Unrestricted Account and amounts
                                       immediately available for borrowing under the
                                       Cash Flow DIP without restriction or subject to
                                       the discretion of the Cash Flow DIP Lender;
                              (ii)     Compliance with Borrowing Base (as such term
                                       is defined in the DIP Repo Documents) ; and
                              (iii)    Daily mark-to-market.


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    This amount remains subject to credit approval.

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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY

                         (i)     A conversion to a liquidation or Chapter 7,
                                 appointment of a trustee or Examiner, loss of
                                 Debtor Exclusivity;
                         (ii)    Cross default/termination of Cash Flow DIP
Events of Default                Facility or the filing of a chapter 11 plan that does Master
Bankruptcy Rule                  not contemplate a full repayment in cash of the Repurchase
4001(c)(1)(B); Local             DIP Repo Facility;                                    Agreement at
Rule 4001-2(a)(i)(S)                                                                   p. 55
                         (iii)   Loss of GSE issuer or servicer status and loss or
                                 termination of any contract/license material to
                                 origination/sale/delivery of mortgage loans; and
                         (iv)    Other usual and customary events of default.

Milestones               (i)     Entry of an Interim DIP Repo Order within 4
                                                                                    Interim Repo
Bankruptcy Rule                  business days of the Petition Date and a Final DIP
                                                                                    DIP Order ¶20
4001(c)(1)(B)(vi)                Repo Order within 35 days of the Petition Date.

Carve-Out                The terms of the Carve-Out is provided in the Cash Flow
Bankruptcy Rule          DIP Motion. No new Carve-Out is being provided under Interim Cash
4001(b)(1)(B)(iii);      the DIP Repo Facility.                                  Flow DIP
Local Rule 4001-                                                                 Order at ¶ 9
2(a)(i)(F), (M)

Prepayments              Voluntary prepayments permitted without penalty or
Bankruptcy Rule          premium.
4001(c)(1)(B); Local     Mandatory prepayments, including disposition of
Rule 4001-2(a)(i)(I)     Collateral, when Borrowing Base not in compliance.

                         (i)     Entry of Interim DIP Repo Order satisfactory to
                                 DIP Repo Agent;
                         (ii)    Cash Flow DIP Facility of at least $22 million;
                     (iii)       Entry of order approving Cash Flow DIP Facility
Conditions to                    satisfactory to DIP Repo Agent;
Closing of DIP                                                                        Master
Repo Facility        (iv)        Minimum liquidity of FGMC on the DIP Closing Repurchase
Bankruptcy Rule                  Date (as defined in the Interim DIP Repo Order) Agreement at
4001(c)(1)(B); Local             of $20 million, which amount shall be calculated p. 34
Rule 4001-2(a)(i)(E)             based on unrestricted cash on deposit in an
                                 unencumbered account (the “Unrestricted
                                 Account”) and amounts immediately available
                                 for borrowing under the Cash Flow DIP without
                                 restriction or subject to the discretion of the Cash
                                 Flow DIP Lender (as defined in the Cash Flow

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                  SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
                                       DIP Orders) and (ii) have minimum liquidity of
                                       not less than $[__] at any point thereafter8, which
                                       shall be calculated based on unrestricted Cash on
                                       deposit in the Unrestricted Account and amounts
                                       immediately available for borrowing under the
                                       Cash Flow DIP without restriction or subject to
                                       the discretion of the Cash Flow DIP Lender; and
                              (v)      Maintenance of Agency and regulatory status.

Parties with an               N/A
Interest in Cash
Collateral
Bankruptcy Rule
4001(b)(1)(B)(i)

Liens, Cash         N/A
Payments or
Adequate
Protection Provided
for Use of Cash
Collateral
Bankruptcy Rule
4001(b)(1)(B)(iv)

Determination                 N/A
Regarding
Prepetition Claims
Bankruptcy Rule
4001(c)(1)(B)(iii)

Effect of Debtors’            N/A
Stipulations on
Third Parties
Bankruptcy Rule
4001(c)(1)(B)(iii),
(vii), (viii)

Waiver or                     The automatic stay imposed under section 362(a) of the
Modification of the           Bankruptcy Code is modified as necessary to effectuate Interim Repo
Automatic Stay                all of the terms and provisions of the Orders, including, DIP Order ¶ 33
Bankruptcy Rule               without limitation, to: (a) permit the Debtors to grant the
4001(c)(1)(B)(iv);            applicable lien(s); (b) permit the Debtors to perform such

8
    This amount g remains subject to credit approval.

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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
Local Rule 4001-         acts as the DIP Repo Parties may request, in their
2(a)(i)(S)               reasonable discretion, to assure the perfection and
                         priority of the liens granted herein; (c) permit the DIP
                         Repo Parties, to file, in their sole discretion deems
                         necessary or advisable, such financing statements,
                         mortgages, notices of liens and other similar documents
                         to perfect in accordance with applicable non-bankruptcy
                         law or to otherwise evidence the applicable liens; (d)
                         permit the Debtors to incur and discharge all liabilities
                         and obligations to the DIP Repo Parties under the DIP
                         Repo Documents and the Orders; (e) authorize the
                         Debtors to pay, and the DIP Repo Parties to retain and
                         apply, payments made in accordance with the terms of
                         the DIP Repo Orders and the DIP Repo Documents; and
                         (f) permit the Debtors and DIP Repo Parties to take any
                         other actions necessary and appropriate to implement the
                         terms of the Orders and the DIP Repo Documents,
                         including, without limitation, the implementation of
                         applicable reserves.

                         The Debtors shall indemnify and hold the DIP Repo
                         Parties and their respective officers, directors,
                         employees, counsel and agents (including all
                         professionals) (each, an “Indemnified Party”) harmless
                         from and against any and all claims, damages, losses,
                         liabilities and expenses (including, without limitation, all
                         reasonable fees and disbursements of attorneys and other
                         professionals) to which any Indemnified Party may
                         become liable or which may be incurred by or asserted
Indemnification          against any Indemnified Party, in each case arising out
                                                                                      Interim Repo
Bankruptcy Rule          of, relating to, or by reason of any investigation,
                                                                                      DIP Order ¶ 18
4001(c)(1)(B)(ix)        litigation or proceeding arising out of or relating to the
                         DIP Repo Facility, the DIP Repo Documents, the DIP
                         Repo Facility Agreement, or any obligation or act taken
                         or omitted by such Indemnified Party related or attendant
                         thereto; provided that no Indemnified Party will be
                         indemnified for any cost, expense or liability to the
                         extent the same is found in a final nonappealable
                         judgment by a court of competent jurisdiction to have
                         resulted from such Indemnified Party’s gross negligence
                         or willful misconduct.

Section 506(c)     Debtors have agreed to waive claims against DIP Repo
Waiver and Section Parties for surcharge of expenses pursuant to section
552(b) Waiver      506(c) of the Bankruptcy Code and to waive claims
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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
Bankruptcy Rule          under section 552(b)(1) of the Bankruptcy Code based
4001(c)(1)(B)(x)         upon the “balance of the equities”.

Any Provision That N/A
Limits the Court’s
Power to Enter
Future Orders
Local Rule 4001-
(a)(i)(C)

Any Provision that       N/A
Provides for the
Funding of Non-
Debtor Affiliates
Local Rule 4001-
(a)(i)(D)

Any Provision that       Pursuant to section 364(c)(2) of the Bankruptcy Code,
Provides for             secured by a perfected first priority lien.
Postpetition Liens                                                               Interim Repo
on Unencumbered                                                                  DIP Order ¶ 8,
Assets                                                                           10
Local Rule 4001-
(a)(i)(G)

In Jointly               The Debtors shall be joint and several obligors.
Administered
Cases, any
Provision
Governing Joint                                                                  Interim Repo
Liability of the                                                                 DIP Order ¶ B
Debtors
Local Rule 4001-
(a)(i)(J)

Any Provision that       N/A
Requires the
Debtor to Pay an
Agent or Lender’s
Expenses and
Attorneys’ Fees
with no Notice or


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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
Review by the UST
and Committee
Local Rule 4001-
(a)(i)(K)

Any Provision that N/A
Prohibits the Use of
Estate Funds to
Investigate Liens
and Claims of
Prepetition Lenders
Local Rule 4001-
(a)(i)(L)

Any Provisions           N/A
granting Cross-
Collateralization
Local Rule 4001-
2(a)(i)(N)

Any Provisions      N/A
Deeming
Prepetition Debt to
be Postpetition
Debt
Local Rule 4001-
(a)(i)(O)

Any Provisions           N/A
Priming Secured
Liens Without
Consent of
Lienholder
Local Rule 4001-
(a)(i)(P)

Any Provisions     N/A
Binding the Estate
to Validity,
Perfection or
Amount of Secured
Debt

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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
Local Rule 4001-
2(a)(i)(Q)

Provisions that   N/A
Immediately
Approve All Terms
and Conditions of
the Underlying
Loan Agreement
Local Rule 4001-
2(a)(i)(R)

Provisions Limiting N/A
What Parties in
Interest May Raise
at Emergency
Hearings
Local Rule 4001-
2(a)(i)(T)

Provisions that          N/A
Grant Liens on
Avoidance Actions
Local Rule 4001-
2(a)(i)(U)

                    No costs or expenses of administration which have been To be inserted
Provisions that     or may be incurred in the Chapter 11 Cases or any in Final Repo
Immediately Waive Successor Case at any time shall be charged against the DIP Order
the Debtor’s Rights DIP Repo Parties, or any of their claims, or the DIP Repo
under Section       Parties’ Collateral pursuant to sections 105 or 506(c) of
506(c)              the Bankruptcy Code, or otherwise, without the prior
                    written consent, as applicable, of the DIP Repo Parties,
Local Rule 4001-    and no such consent shall be implied from any other
2(a)(i)(V)          action, inaction, or acquiescence by any such agents or
                    lenders.

Provisions that          The DIP Repo Parties shall be entitled to all of the rights To be inserted
Affect the Court’s       and benefits of section 552 of the Bankruptcy Code, and in Final Repo
Power to Consider        the “equities of the case” exception under section 552(b) DIP Order
the Equities of the      of the Bankruptcy Code shall not apply to the DIP Repo
Case under Section       Parties with respect to proceeds, product, offspring or
552(b)(1)                profits of any of the Collateral.

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              SUMMARY OF MATERIAL TERMS OF DIP REPO FACILITY
Local Rule 4001-
2(a)(i)(W)

Provisions that     The DIP Repo Parties shall not be subject to the equitable To be inserted
Immediately Shield doctrine of “marshaling” or any other similar doctrine in Final Repo
the Lender from the with respect to any of their Collateral, and proceeds shall DIP Order
Equitable Doctrine be received and applied pursuant to the Orders and the
of Marshalling      DIP Repo Documents notwithstanding any other
                    agreement or provision to the contrary.
Local Rule 4001-
2(a)(i)(X)

Budget                   N/A
Local Rule 4001-
2(a)(iii)



        B.      The Debtors Need for Postpetition Financing

        15.     As explained above, the Debtors have an immediate and critical need to obtain the

DIP Repo Facility. The Debtors’ businesses depend on the uninterrupted flow of liquidity in order

to fund mortgage originations for customers. Without immediate access to the DIP Repo Facility,

the Debtors will be unable fund loans to be originated to borrowers intending to close on their

home purchase within the next several weeks. The DIP Repo Facility is necessary in order to

prevent the harm that would result if those borrowers were unable to complete the purchase or

refinance of their homes.

        C.      The Debtors’ Efforts to Obtain Postpetition Financing

        16.     As further detailed in the First Day Declaration, the Debtors have been impacted

by the series of macroeconomic challenges, including a steep rise in interest rates.            The

combination of continued losses related to the Debtor’s lower origination volumes, and volatile

daily margin calls on hedge positions has led to drastic reductions in the Debtors’ unrestricted cash

and initiated a liquidity crisis. As further detailed in the Meerovich Declaration, the Debtors and

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their professionals have worked collaboratively to secure debtor in possession financing. The

Debtors and their professionals approached multiple potential sources of debtor-in-possession

financing, including commercial banks and other financial institutions. No party offered potential

financing on terms more favorable than the DIP Repo Facility.

        17.     Given the unique and extensive nature of the Debtors’ capital requirements, in the

absence of the availability of the DIP Repo Facility, the Debtors, their estates, borrowers and

creditors would likely sustain serious and irreparable harm.

                       RELIEF REQUESTED SHOULD BE GRANTED

        D.      Entry into the DIP Repo Facility is an Exercise of the Debtors’ Sound Business
                Judgment

        18.     Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or

superpriority financing under certain circumstances discussed in detail below. Courts grant

debtors considerable deference in acting in accordance with their business judgment in obtaining

postpetition secured credit, so long as the agreement to obtain such credit does not run afoul of the

provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re L.A. Dodgers LLC,

457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business

judgment of a debtor in the selection of the lender.”); In re Barbara K. Enters., Inc., No. 08-11474

(MG), 2008 WL 2439649, at *14 (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer to

a debtor’s business judgment “so long as a request for financing does not ‘leverage the bankruptcy

process’ and unfairly cede control of the reorganization to one party in interest”); In re Farmland

Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003) (noting that approval of postpetition

financing requires, among other things, an exercise of “sound and reasonable business judgment”);

In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition

loan and receivables facility because such facility “reflect[ed] sound and prudent business

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judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases

consistently reflect that the court’s discretion under section 364 [of the Bankruptcy Code] is to be

utilized on grounds that permit [a debtor’s] reasonable business judgment to be exercised so long

as the financing agreement does not contain terms that leverage the bankruptcy process and powers

or its purpose is not so much to benefit the estate as it is to benefit a party-in-interest.”).

        19.     Bankruptcy courts generally will not second-guess a debtor’s business decisions

when those decisions involve “a business judgment made in good faith, upon a reasonable basis,

and within the scope of [its] authority under the [Bankruptcy] Code.” In re Curlew Valley Assocs.,

14 B.R. 506, 513-514 (Bankr. D. Utah. Oct. 8, 1981) (noting that courts should not second guess

a debtor’s business decision when that decision involves “a business judgment made in good faith,

upon a reasonable basis, and within the scope of [the debtor’s] authority under the [Bankruptcy]

Code”). To determine whether the business judgment test is met, “the court ‘is required to examine

whether a reasonable business person would make a similar decision under similar

circumstances.’” In re Dura Auto. Sys. Inc., No. 06-11202 (KJC), 2007 WL 7728109, at *97

(Bankr. D. Del. Aug. 15, 2007) (citation omitted).

        20.     In determining whether the Debtors have exercised sound business judgment in

entering into the DIP Repo Facility, the Court should consider the economic terms of the financing

under the totality of circumstances. See Hr’g Tr. at 734-35:24, In re Lyondell Chem. Co., No. 09-

10023 (Bankr. S.D.N.Y. Feb. 27, 2009) (recognizing that “the terms that are now available for DIP

financing in the current economic environment aren’t as desirable” as they once were previously);

In re Elingsen McLean Oil Co., Inc., 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing that a

debtor may have to enter into “hard” bargains to acquire funds for its reorganization). Moreover,

the Court may appropriately take into consideration noneconomic benefits to the Debtors offered


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under the proposed postpetition facility. For example, in In re ION Media Networks, Inc., the

Bankruptcy Court for the Southern District of New York held that:

                 Although all parties, including the Debtors and the Committee, are naturally
                 motivated to obtain financing on the best possible terms, a business decision
                 to obtain credit from a particular lender is almost never based purely on
                 economic terms. Relevant features of the financing must be evaluated,
                 including non-economic elements such as the timing and certainty of
                 closing, the impact on creditor constituencies and the likelihood of a
                 successful reorganization. This is particularly true in a bankruptcy setting
                 where cooperation and established allegiances with creditor groups can be
                 a vital part of building support for a restructuring that ultimately may lead
                 to a confirmable reorganization plan. That which helps foster consensus
                 may be preferable to a notionally better transaction that carries the risk of
                 promoting unwanted conflict.

No. 09-13125 (JMP), 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

        21.      The Debtors’ decision to enter into the DIP Repo Facility is an exercise of their

sound business judgment. The DIP Repo Facility is the best financing option available under

present circumstances and the Debtors have satisfied the legal requirements to incur the obligations

under the DIP Repo Facility on the terms and conditions set forth in the DIP Repo Documents.

The Debtors believe that the DIP Repo Documents contain terms that are fair, reasonable, and in

the best interest of the Debtors and their estates. Accordingly, the Debtors respectfully submit that

they should be authorized to enter into the DIP Repo Documents and to obtain access to the DIP

Repo Facility.

        E.       Debtors Should Be Authorized to Grant Liens and Superpriority Claims

        22.      The Debtors propose to obtain financing under the DIP Repo Facility by providing

security interests and liens as set forth in the DIP Repo Documents and described above. The

Debtors satisfy the requirements for relief under section 364 of the Bankruptcy Code, which

authorizes a debtor to incur secured or superpriority debt under certain circumstances.

Specifically, section 364(c) of the Bankruptcy Code provides that:


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                If the trustee is unable to obtain unsecured credit allowable under section
                503(b)(1) of this title as an administrative expense, the court, after notice
                and a hearing, may authorize the obtaining of credit or the incurring of
                debt—

                (1) with priority over any or all administrative expenses of the kind
                specified in section 503(b) or 507(b) of this title;

                (2) secured by a lien on property of the estate that is not otherwise subject
                to a lien; or

                (3) secured by a junior lien on property of the estate that is subject to a lien.

                11 U.S.C. § 364(c).

        23.     To satisfy the requirements of section 364(c) of the Bankruptcy Code, a debtor need

only demonstrate “by a good faith effort that credit was not available” to the debtor on an

unsecured or administrative expense basis. In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D.

Pa. 1987) (finding that secured credit under section 364(c) of the Bankruptcy Code is authorized,

after notice and hearing, upon a showing that unsecured credit cannot be obtained). “The statute

imposes no duty to seek credit from every possible lender before concluding that such credit is

unavailable.” Bray v. Shenandoah Fed. Savs. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085,

1088 (4th Cir. 1986); see also Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp., 266 B.R. 575, 584

(S.D.N.Y. 2001) (finding that superpriority administrative expenses should be authorized where

debtor could not obtain credit as an administrative expense). When few lenders are likely to be

willing to extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to

require [the debtor] to conduct such an exhaustive search for financing.” In re Sky Valley, Inc., 100

B.R. 107, 113 (Bankr. N.D. Ga. 1988); see also In re Snowshoe Co., 789 F.2d at 1088 (finding

that credit was unavailable absent a senior priming lien because the debtor had made unsuccessful

contact with other financial institutions in the relevant geographic area); In re Stanley Hotel, Inc.,

15 B.R. 660, 663 (D. Colo. 1981) (finding that the fact that two national banks refused to grant


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unsecured loans was sufficient to support the conclusion that the requirements of section 364 were

met); In re Ames Dep’t Stores, 115 B.R. at 40 (approving financing facility and finding that debtor

made reasonable efforts to satisfy the requirements of section 364(c) by approaching four lending

institutions, two of which refused to provide financing, and selecting the most favorable of the two

offers it received).

          24.        Courts have articulated a three-part test to determine whether a debtor is entitled to

enter into financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to

whether:

                    the debtor is unable to obtain unsecured credit under section 364(b) of the
                     Bankruptcy Code (i.e., by allowing an administrative claim);

                    the credit transaction is necessary to preserve the assets of the estate; and

                    the terms of the transaction are fair, reasonable, and adequate, given the
                     circumstances of the debtor-borrower and proposed lenders.

See In re Aqua Assocs., 123 B.R. 192, 195–96 (Bankr. E.D. Pa. 1991); In re Ames Dep’t Stores,

115 B.R. at 37–40; In re St. Mary Hosp., 86 B.R. 393, 401–02 (Bankr. E.D. Pa. 1988); Crouse

Grp., 71 B.R. at 549.

          25.        In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) provides

that a court “may authorize the obtaining of credit or the incurring of debt (1) with priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of [the

Bankruptcy Code]; (2) secured by a lien on property of the estate that is not otherwise subject to a

lien; or (3) secured by a junior lien on property of the estate that is subject to a lien.” 11 U.S.C. §

364(c).

          26.        As described above and in the First Day Declaration, the Debtors are unable to

obtain credit without the protections afforded by section 364(c) of the Bankruptcy Code. Thus,
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the Debtors determined that the DIP Repo Facility provides the best opportunity available to the

fund the Debtors’ existing locked loan commitments to borrowers.                Therefore, approving

superpriority claims with respect to the Collateral in favor of the DIP Repo Parties, as necessary,

is reasonable and appropriate.

        F.      The Debtors Should Be Authorized to Pay Fees Required by the DIP Repo
                Documents to the Extent that the DIP Repo Facility is Consummated

        27.     In addition to reimbursement obligations, as specified under the DIP Repo

Documents, the Debtors have agreed, subject to Court approval, to pay certain fees and other

payments to the DIP Repo Parties. The fees and other obligations under the DIP Repo Documents

were negotiated in good faith and at arm’s length and represent the most favorable terms to the

Debtors on which the DIP Repo Parties would agree to make the DIP Repo Facility available. The

Debtors considered the fees when determining in their sound business judgment whether entry into

the DIP Repo Facility constituted the best path forward for the Debtors, and the Debtors

determined that paying these fees in order to obtain the financing under the DIP Repo Facility is

in the best interests of the Debtors’ estates. Accordingly, the Court should authorize the Debtors

to pay the fees under the DIP Repo Facility.

        G.      The DIP Repo Parties Should Be Deemed A Good Faith Parties under Section
                364(e)

        28.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect

on loans extended to a debtor, and its right in any lien securing those loans, even if the authority

of the debtor to obtain such loans or to grant such liens is later reversed or modified on appeal.

Section 364(e) provides that:

                The reversal or modification on appeal of an authorization under this section
                [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant
                under this section of a priority or a lien, does not affect the validity of any
                debt so incurred, or any priority or lien so granted, to an entity that extended
                such credit in good faith, whether or not such entity knew of the pendency
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                of the appeal, unless such authorization and the incurring of such debt, or
                the granting of such priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

        29.     As explained in the Meerovich Declaration, the DIP Repo Documents are the result

of (i) the Debtors’ reasonable judgment that the DIP Repo Parties provided the best [(and only)]

postpetition financing alternative available under the circumstances and (b) extended arms’ length,

good-faith negotiations between the Debtors and the DIP Repo Parties. Under the circumstances,

the terms and conditions of the DIP Repo Documents are fair and reasonable, and the proceeds of

the DIP Repo Facility will be used only for purposes that are permissible under the Bankruptcy

Code, in accordance with the Orders and the DIP Repo Documents. Accordingly, the Court should

find that the DIP Repo Parties are a “good faith” lenders within the meaning of section 364(e) of

the Bankruptcy Code and that the DIP Repo Parties are entitled to all of the protections afforded

by that section.

        H.      Modification of Automatic Stay is Warranted

        30.     The relief requested herein contemplates a modification and vacation of the

automatic stay to permit the Debtors to, among other things, (a) grant the security interests, liens,

and superpriority claims described above and to perform such acts as may be requested to assure

the perfection and priority of such security interests and liens; and (b) implement the terms of the

Orders, including payment of all amounts referred to in the DIP Repo Documents.

        31.     Stay modifications of this kind are ordinary and standard features of postpetition

financing facilities and, in the Debtors’ business judgment, are appropriate under the present

circumstances. Accordingly, the Debtors request that the Court modify the automatic stay solely

to the extent contemplated by the DIP Repo Facility Agreement and the Orders.




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        I.      The DIP Repo Facility Should be Approved Under Section 363(b) and (c) of
                the Bankruptcy Code

        32.     Section 363(b) of the Bankruptcy Code provides, in relevant part, that “[t]he

[debtor], after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate.” 11 U.S.C. § 363(b)(1). If “the debtor articulates a reasonable

basis for its business decisions (as distinct from a decision made arbitrarily or capriciously), courts

will generally not entertain objections to the debtor’s conduct.” Comm. of Asbestos-Related

Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr.

S.D.N.Y. 1986) (citation omitted). Indeed, courts in this District consistently have declined to

interfere with corporate decisions absent a showing of bad faith, self-interest, or gross negligence,

and have upheld a board’s decisions as long as such decisions are attributable to any “rational

business purpose.” Integrated, 147 B.R. at 656 (quoting CRTF Corp. v. Federated Dep’t Stores,

683 F. Supp. 422, 436 (S.D.N.Y. 1988)).

        33.     As articulated above and in the Meerovich Declaration and the First Day

Declaration, there is a sound and compelling basis for the Debtors to enter into the DIP Repo

Documents and the transactions contemplated thereunder. The DIP Repo Facility will make

available substantial financing to fund committed loans.

        34.     Without access to the DIP Repo Facility, the Debtors will not be able to satisfy

obligations to customers with locked loans. As a result, those customers would be left at closing

tables without the funds necessary to close on the purchase or refinance of their homes. Further,

the DIP Repo Facility is necessary in order to fund the Debtors’ operations. The Debtors entry

into the DIP Repo Facility, therefore, is both necessary in order for the Debtors to provide

necessary funding to customers, and critical to the success of the Chapter 11 Cases. The Debtors

submit ample business justification exists for them to enter into the DIP Repo Documents and the

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transactions contemplated thereby. Furthermore, and out of an abundance of caution, the Debtors

submit that the repurchase transactions and the sale of receivables pursuant to the DIP Repo

Facility constitutes transactions in the ordinary course of the Debtors’ business and are subject to

section 363(c) of the Bankruptcy Code (providing that a debtor may enter into ordinary course

transactions without notice or a hearing).

        J.      Transactions Under the DIP Repo Facility Satisfy Requirements of
                Bankruptcy Code Section 363(f) for a Sale Free and Clear

        35.     Bankruptcy Code section 363(f) permits a debtor to sell property free and clear of

another party’s interest in the property if: (a) applicable non-bankruptcy law permits such a free

and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale price of

the property exceeds the value of all liens on the property; (d) the interest is in bona fide dispute;

or (e) the holder of the interest could be compelled in a legal or equitable proceeding to accept a

monetary satisfaction of its interest. 11 U.S.C. § 363(f). Because section 363(f) is stated in the

disjunctive, satisfaction of any one of its five requirements will suffice to warrant approval of the

proposed sale. See Scherer v. Fed. Nat’l Mortg. Ass’n (In re Terrace Chalet Apts., Ltd.), 159 B.R.

821, 825 (N.D. Ill. 1993) (sale extinguishes liens under section 363(f) as long as one of the five

specified exceptions applies).

        36.     Entry into the DIP Repo Facility is appropriate under section 363(f) of the

Bankruptcy Code. The only known liens or interests in the mortgages that are proposed to be

repurchased and sold in connection with the implementation of the DIP Repo Facility are the liens

held by the Prepetition Bridge Lender pursuant to the Prepetition Bridge Loan Agreement, who

has consented to the transactions. With respect to mortgages originated after the DIP Repo Facility

is implemented, no party other than the DIP Repo Purchaser will have liens or interests in such

mortgages. Furthermore, notice will be provided to any other party that the Debtors become aware

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of that may hold a lien, claim, encumbrance, or other interest in the transferred assets. But for the

free and clear transfer of the transferred assets under section 363(f) of the Bankruptcy Code, the

DIP Repo Purchaser would not have entered into the DIP Repo Facility on the same terms, which

would adversely impact the Debtors’ effort to maximize the value of their estates. Thus, the Debtor

may sell the assets transferred pursuant to the DIP Repo Facility free and clear of all liens in

accordance with Bankruptcy Code section 363(f)(2) and (f)(5).

        K.      The DIP Repo Purchaser Should Be Entitled to the Protections of Bankruptcy
                Code Section 363(m)

        37.     Bankruptcy Code section 363(m) provides in relevant part that the reversal or

modification on appeal of an authorization under section 363(b) of a sale or lease of property does

not affect the validity of a sale or lease under such authorization to a purchaser who bought or

leased such property in good faith, whether or not such entity knew of the pendency of the appeal,

unless such authorization and such sale or lease were stayed pending appeal. See 11 U.S.C. §

363(m). “Although the Bankruptcy Code does not define the meaning of ‘good-faith purchaser,’

most courts have adopted a traditional equitable definition: ‘one who purchases the assets for

value, in good faith and without notice of adverse claims.’” Licensing by Paolo, Inc. v. Sinatra (In

re Gucci), 126 F.3d 380, 390 (2d Cir. 1997) (citation omitted).

        38.     The United States Court of Appeals for the Third Circuit has held that: “‘The

requirement that a purchaser act in good faith . . . speaks to the integrity of [purchaser’s] conduct

in the course of the sale proceedings.’” In re Abbotts Dairies of Pa., Inc., 788 F.2d 143, 147 (3d

Cir. 1986) (citation omitted). Typically, the misconduct that would deny a purchaser’s good faith

status involves “fraud, collusion between the purchaser and other bidders or the trustee, or an

attempt to take grossly unfair advantage of other bidders.” Hoese Corp. v. Vetter Corp. (In re

Vetter Corp.), 724 F.2d 52, 56 (7th Cir. 1983) (quoting In re Rock Indus. Mach. Corp., 572 F.2d

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1195, 1198 (7th Cir. 1978) (interpreting Bankruptcy Rule 805, the precursor to section 363(m)).

As supported by the Meerovich Declaration, the Debtors submit that the transactions contemplated

by the DIP Repo Facility are arm’s-length transactions entitled to the protections of Bankruptcy

Code section 363(m), negotiated by unrelated parties with their own sophisticated legal, financial,

technical, and tax advisors.

        L.      The DIP Repo Facility Constitutes a “Safe Harbor” Agreement Entitled to the
                Protections of the Safe Harbor Provisions of the Bankruptcy Code

        39.     As discussed herein, the Debtors finance their operations through various

arrangements that, while highly complex, are customary in the mortgage origination industry.

Such arrangements are structured to afford lenders maximum protections in foreclosure and

insolvency proceedings of their borrowers. In particular, it is essential to such lenders that such

arrangements be structured to obtain the benefit of the so-called “safe harbor” provisions of the

Bankruptcy Code and other so-called “bankruptcy remote” vehicles. These protections ultimately

benefit borrowers and their customers by facilitating access to the capital markets and lowering

costs to both borrowers and customers.

        40.     As described in the First Day Declaration and in the Interim DIP Repo Order, prior

to the Petition Date, FGMC financed its mortgage origination operations via certain repurchase

agreements pursuant to which it sold to buyer counterparties various mortgage obligations that

FGMC originated or purchased from their joint ventures, and pursuant to which it was obligated

to repurchase such mortgage obligations in the future. As provided previously, these financing

arrangements are customary in the mortgage origination industry and afford mortgage originators

and borrowers more advantageous borrowing rates and terms as compared to other potential

financing structures (such as secured lending facilities). The Debtors propose in this Motion and

the Interim DIP Repo Order to continue such financing activities pursuant to new and/or amended

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and restated master repurchase agreements entered into pursuant to the Interim DIP Repo Order

that are substantially similar to the Prepetition Repo Facilities.

        41.      It is customary in the mortgage origination industry to structure arrangements such

as the DIP Repo Facility so that they in fact qualify as “repurchase agreements” and “securities

contracts” as defined in the Bankruptcy Code, entitled to the protections of the so-called “safe

harbor” provisions of the Bankruptcy Code. The Bankruptcy Code definition of “repurchase

agreement” includes the requirement that the agreement provide for the transfer of mortgage assets

in return for the transfer of funds, with a simultaneous agreement by the transferee to transfer the

mortgage assets back to the transferor against the transfer of funds. See 11 U.S.C. § 101(47).

Similarly, the Bankruptcy Code definition of “securities contract” includes the requirement that

the agreement provide for the purchase, sale, or loan of a mortgage loan. See 11 U.S.C. §

747(7)(a)(i).

        42.      Here, the DIP Repo Facility provides for the transfer, purchase or sale of mortgage

loans (or interests therein) against the transfer of funds by the DIP Repo Facility Purchaser, with

a simultaneous agreement by such DIP Repo Facility Purchaser to transfer the mortgage loans (or

interests therein) back to FGMC against the transfer of funds. Therefore, the DIP Repo Facility

satisfies both the transfer requirements and the qualifying asset requirements and is a “repurchase

agreement” within the meaning of section 101(47) of the Bankruptcy Code and a “securities

contract” within the meaning of section 741(7) of the Bankruptcy Code. See, e.g., Calyon New

York Branch v. American Home Mortgage Corp. (In re American Home Mortgage, Inc.), 379 B.R.

503, 519-20 (Bankr. D. Del. 2008) (a contract providing for the sale and repurchase of mortgage

loans constitutes a “repurchase agreement” and a “securities contract” and is subject to the safe

harbors under the Bankruptcy Code); Wells Fargo Bank N.A. v. HomeBanc, et al. (In re Homebanc


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Mortgage Corp.), 2013 WL 211180, at *10 (Bankr. D. Del. 2013) (same); Sher v. TMST Hedging

Strategies, Inc. (In re TMST, Inc.), 518 B.R. 329 (Bankr. D. Md. 2014) (same).

        43.     In order to avail itself of the safe harbors under the Bankruptcy Code, a party to a

repurchase agreement or securities contract must qualify as a protected counterparty. Here each

of the DIP Repo Facility Parties is a (x) “financial institution” within the meaning of section

101(22) of the Bankruptcy Code because it is a commercial bank, (y) “financial participant” within

the meaning of section 101(22A) of the Bankruptcy Code because it had one or more safe harbor

agreements with a borrower in excess of the amounts set forth in Bankruptcy Code 101(22A),

and/or (z) “repo participant” within the meaning of section 101(46) of the Bankruptcy Code.

        44.     The DIP Repo Facility and the DIP Repo Facility Parties therefore are entitled to

the protections of the safe harbors of the Bankruptcy Code as provided for in sections 362(b)(6),

362(b)(7), 362(o), 546, 548, 555 and 559 of the Bankruptcy Code.

        (2)     The DIP MSFTAs Constitute Forward Agreements,” “Swap Agreements,” and
                “Master Netting Agreements” Under the Bankruptcy Code

        45.     Prior to the Petition Date, in the ordinary course of business, FGMC entered into

forward transactions for the purchase or sale of mortgage-backed and other securities, including

pursuant to “when-issued,” “to-be-announced,” “dollar roll” and other transactions with various

regulated broker dealers pursuant to the terms of various Master Securities Forward Transaction

Agreements (the “Prepetition MSFTAs”). FGMC used the Prepetition MSFTAs to hedged certain

of its financing operations. The counterparties to the Debtors’ Prepetition MSFTAs include, but

are not limited to BMO Capital Markets Corp., Goldman Sachs LLC, Mizuho Securities USA

LLC, Morgan Stanley & Co. LLC, South Street Securities LLC, and Wells Fargo Securities LLC.

As stated in the First Day Declaration, such hedging arrangements are customary in the mortgage

origination industry and afford mortgage originators and borrowers more advantageous borrowing

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rates and terms. The Debtors propose in this Motion and the Interim DIP Repo Order to continue

such hedging activities post-petition.

        46.     It is customary in the mortgage origination industry to structure such arrangements

so that they in fact qualify as “forward agreements,” “swap agreements,” and “master netting

agreements” as defined in the Bankruptcy Code that are in turn entitled to the protections of the

“safe harbor” provisions of the Bankruptcy Code. Each DIP MSFTA is a (x) ”forward contract”

within the meaning of section 101(25) of the Bankruptcy Code, a “swap agreement” within the

meaning of section 101(53B) of the Bankruptcy Code, and a “securities contract” within the

meaning of section 741(7) of the Bankruptcy Code, in each case because the DIP MSFTA provides

for the purchase or sale of mortgage loans or other securities on a delayed delivery basis and (y)

”master netting agreement” within the meaning of section 101(38A) of the Bankruptcy Code

because it provides for netting and setoff of the parties’ rights and obligations thereunder. In

addition, each DIP MSFTA Counterparty is a “master netting agreement participant” within the

meaning of Section 101(38B) of the Bankruptcy Code because it will be a party to an outstanding

master netting agreement.

        47.     The DIP MSFTAs and DIP MSFTA Counterparties therefore are entitled to the

protections of the safe harbors of the Bankruptcy Code as provided for in sections 362(b)(6),

362(b)(17), 362(b)(27), 362(o), 546, 548, 556, 560 and 561 of the Bankruptcy Code.

        (3)     Each DIP Netting Agreement Constitutes a “Master Netting Agreement” Under the
                Bankruptcy Code

        48.     Prior to the Petition Date, certain Debtors entered into a certain margin, setoff and

netting agreement to allow the Debtors and counterparties to the Prepetition Repo Facilities and

the Prepetition MSFTAs (the “Prepetition Netting Counterparties”) to net, setoff and margin their

obligations to one another under the Prepetition Netting Agreements. As stated in the First Day

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Declaration, such netting arrangements are customary in the mortgage origination industry and

afford mortgage originators and borrowers more advantageous borrowing rates and terms. The

Debtors propose in this Motion and the Interim DIP Repo Order to enter into a substantially similar

agreement post-petition.

        49.     It is customary in the mortgage origination industry to structure such arrangements

so that they in fact qualify as “master netting agreements” as defined in the Bankruptcy Code that

are in turn entitled to the “safe harbor” provisions of the Bankruptcy Code. Each Netting

Agreement is a “master netting agreement” within the meaning of section 101(38A) of the

Bankruptcy Code because it provides for the exercise of rights, including rights of netting, setoff,

liquidation, termination, acceleration, or close out, under or in connection with securities contracts,

forward contracts, repurchase agreements, and/or swap agreements. Moreover, each DIP Netting

Counterparty is a “master netting agreement participant” because it was a party to an outstanding

master netting agreement with a borrower.

        50.     The DIP Netting Agreement and the DIP Netting Counterparties therefore are

entitled to the protections of the safe harbors of the Bankruptcy Code as provided for in sections

362(b)(27), 362(o), 546, 548, and 561 of the Bankruptcy Code.

        M.      The Debtors Require Immediate Access to the DIP Repo Facility

        51.     The Court may grant interim relief in respect of a motion filed pursuant to section

363(c) or 364 of the Bankruptcy Code where, as here, interim relief is “necessary to avoid

immediate and irreparable harm to the estate pending a final hearing.” Fed. R. Bankr. P.

4001(b)(2), 4001(c)(2). In examining requests for interim relief under this rule, courts generally

apply the same business judgment standard applicable to other business decisions. See In re Ames

Dep’t Stores, 115 B.R. at 36.


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        52.        The Debtors’ businesses depend on the uninterrupted flow of liquidity in order to

fund mortgage originations. The Debtors and their customers would suffer immediate and

irreparable harm if the authority to borrow under the DIP Repo Facility is not granted on an interim

basis promptly after the Petition Date.

                                    RESERVATION OF RIGHTS

        53.        Except as may be provided in the Orders entered by the Court approving the DIP

Repo Facility, nothing contained herein is intended to be or shall be construed as (a) an admission

as to the validity of any claim against the Debtors or any liens against the Debtors’ property, (b)

an agreement or obligation to pay any claims, (c) a waiver of any claims or causes of action that

may exist against any creditor or interest holder, (d) a waiver of the Debtors’ or any appropriate

party in interest’s rights to dispute any claim, (e) an approval, assumption, or rejection of any

agreement, contract, program, policy, or lease under section 365 of the Bankruptcy Code, (f) a

limitation on the Debtors’ rights under section 365 of the Bankruptcy Code to assume or reject any

executory contract with any party subject to the Orders once entered. Likewise, if the Court grants

the relief sought herein, any payment made pursuant to the Orders is not intended to be and should

not be construed as an admission to the validity of any claim or a waiver of the Debtors’ rights to

dispute such claim subsequently. Nothing contained in the Orders will be deemed to increase,

reclassify, elevate to an administrative expense status, or otherwise affect any claim to the extent

it is not paid.

                              WAIVER OF ANY APPLICABLE STAY

        54.        The Debtors also request that the Court waive the stay imposed by Bankruptcy Rule

6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other than

cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief that the Debtors seek
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in this Motion is necessary for the Debtors to operate without interruption and to preserve value

for their estates. Accordingly, the Debtors respectfully request that the Court waive the 14-day

stay imposed by Bankruptcy Rule 6004(h), to the extent applicable, as the exigent nature of the

relief sought herein justifies immediate relief.

                              REQUEST FOR FINAL HEARING

        55.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for consideration of entry of the Final DIP Repo Order.

        56.     The Debtors request that they be authorized to serve a copy of the signed Interim

DIP Repo Order, which fixes the time and date for the filing of objections, if any, by first class

mail upon the notice parties listed below. The Debtors further request that the Court consider such

notice of the Final Hearing to be sufficient notice under Bankruptcy Rule 4001(c)(2).

                                              NOTICE

        57.     The Debtors will provide notice of this motion to: (a) the Office of the U.S. Trustee

for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors

(on a consolidated basis); (c) the United States Attorney’s Office for the District of Delaware; (d)

the Internal Revenue Service; (e) counsel to the DIP Repo Purchaser, (f) counsel to the Cash Flow

DIP Lender; and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002 and

Local Rule 2002-1(b).

                                      NO PRIOR REQUEST

        58.     No prior request for the relief sought in this motion has been made to this or any

other court.

                                          CONCLUSION

        WHEREFORE the Debtors respectfully request entry of the Orders granting the relief

requested herein and such other and further relief as the Court may deem just and appropriate.

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